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                              ** CIVIL MINUTES **

 Date: 3/11/2022                                         Judge: Hilton
 Time: 10:35 am to 10:48 am
 Reporter: J. Egal

 Civil Action Number: 1:21cv296

 Coalition for TJ v. Fairfax County School Board et al

                   Counsel for Plaintiff:     Counsel for Defendant:
                   Erin Wilcox                Sona Rewari
                   Alison Somin               Daniel Stefany
                   Caleb Kruckenberg

 Appearance of Counsel

 Matter on for [145] Defendant’s Motion to Stay Summary Judgment Order Pending Appeal

 Motion argued and denied
